USDA United States Forest Alaska Region P.O. Box 21628

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Department of Service , Juneau, AK. 99802-1628
Agriculture
File Code: 6270-1-1
Date: Ju 18 2006
Mr. Buck Lindekugel s OUthe.
Conservation Director | Conse rva i St Alas k
Southeast Alaska Conservation Council 'On Oy ih
419 6th Street, Suite 200 JUL 2U 20 oul
Juneau, AK 99801 06

Dear Mr. Lindekugel:

This is in response to your June 8, 2006, request for records under the Freedom of Information
Act (FOIA). You requested documents relating to the Forest Service’s review of the Juneau
Access Improvements project. Specifically, you requested records generated, received, kept
and/or considered by the Forest Service in:

1) deciding to concur with the Federal Highways Administration (FHWA) in the decision
made in the FHWA’s Juneau Access ROD, as stated in the May 22, 2006, letter to David
C. Miller, FWHA;

2) deciding to agree to the transfer of lands under 23 U.S.C. 317 for purposes of
constructing Alternative 2B for the Juneau Access Improvements project, as stated in the
May 22, 2006, letter to David C..Miller;

3) authorizing clearing, brushing, or any other felling of any trees along the proposed right-
of-way prior to the date of this request.

You noted several items in your letter that you did not want included in your request:
1) the August 17, 2005, letter to Van Sundberg from Juneau District Ranger Pete Griffin,
2) the May 3, 2006, letter to David Miller, FWHA, from Pete Griffin and

3) the two May 22, 2006, letters to David Miller, FWHA, from Alaska Regional Forester
Dennis Bschor.

You also stated that you did not want copies of any information already available to the public in
the form of NEPA documents or items on the Forest Service, Federal Highways, or Alaska
Department of Transportation websites. Therefore, these documents are not provided. We have
also excluded a 37-page SEACC document dated March 13, 2006.

‘The Juneau Ranger District and the Engineering and Aviation Management staff of the Regional

Office located 73 documents totaling 244 pages and a CD containing additional information .
within the scope of your request. Enclosed is an index of these documents, 59 documents
totaling 196 pages, and the CD. Under the provisions of 5 U.S.C. 552 (b)(5) (attorney-client or
deliberative and pre-decisional internal agency communications), 14 documents totaling 48
pages are exempt from disclosure and are not provided, as noted on the enclosed index.

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Mr. Buck Lindekugel 2

The FOIA provides you the right to appeal my decision. Any appeal must be made in writing to
the Chief, USDA Forest Service, Mail Stop 1143, 1400 Independence Avenue, SW, Washington,
DC 20250-1143, and be received by the office of the Chief within 45 days from the date of this
letter. The term “FOIA APPEAL” should be placed in capital letters on the front of the
envelope.

Sincerely,

Dra QL ke

DENNIS E. BSCHOR
Regional Forester

Enclosures
cc:

Ken Vaughan, Engineering & Aviation Management
District Ranger, Juneau Ranger District

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